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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-23127-CIV-ALTONAGA/Goodman

  SANTIAGO US PACHECO, et al.,

          Plaintiffs,
  v.

  CACERES INTERIOR PARTITIONS, INC.
  and JORGE E. CACERES

        Defendants.
  ______________________________________/

                   ORDER ON DEFAULT FINAL JUDGMENT PROCEDURE

          THIS CAUSE came before the Court upon the Clerk’s Default [ECF No. 21], entered

  September 18, 2018.        Upon review of the record, it appears Defendants, Caceres Interior

  Partitions, Inc. and Jorge E. Caceres, have indeed failed to respond to the Second Amended

  Complaint [ECF No. 15] or otherwise appear in this action. Therefore, it is

          ORDERED AND ADJUDGED that Plaintiffs must file one of the following two

  responses by September 27, 2018:

          (1) Where there is only one Defendant, or where there are multiple Defendants, 1 but no

  allegations of joint and several liability, and no possibility of inconsistent liability between

  Defendants, Plaintiffs shall file a motion for default final judgment.

          The motion for default final judgment must include affidavits of any sum certain due by

  Defendants, and any other supporting documentation necessary to determine Plaintiffs’ measure

  of damages. The motion shall also be accompanied by (1) the necessary affidavit under the


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    If there are multiple Defendants, Plaintiffs must state in the motion for default final judgment that there
  are no allegations of joint and several liability, and set forth the basis why there is no possibility of
  inconsistent liability.
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  Servicemembers Civil Relief Act, 50 U.S.C. section 3931(b), if applicable; (2) a proposed order;

  and (3) a proposed final judgment. (These last two are required by Local Rule 7.1(a)(2).). In

  accordance with the CM/ECF Administrative Procedures, the proposed orders shall be

  submitted to the Court by e-mail in Word format at altonaga@flsd.uscourts.gov. Plaintiffs

  shall send a copy of the motion to Defendants’ counsel or to Defendants, if they do not have

  counsel. In the certificate of service, Plaintiffs shall indicate that notices were sent to Defendants

  and the addresses where the notices were sent.

         If Defendants fail to move to set aside the Clerk’s Default or respond to the motion for

  default final judgment within the time permitted by the Rules, default final judgment may be

  entered, which, simply put, means Plaintiffs may be able to take Defendants’ property or money,

  and/or obtain other relief against Defendants.

         (2) Where there are multiple Defendants and allegations of joint and several liability, or

  the possibility of inconsistent liability between Defendants, Plaintiffs shall file a notice of joint

  liability. See, e.g., Gulf Coast Fans, Inc. v. Midwest Elecs. Imps., Inc., 740 F.2d 1499, 1512

  (11th Cir. 1984); see also Burger v. Hartley, No. 11-62037-CIV, 2012 WL 398649, at *2–3

  (S.D. Fla. Feb. 7, 2012).

         The notice of joint liability must briefly describe the allegations and advise the Court of

  the status of the other Defendants’ liability. Once liability is resolved as to all Defendants,

  Plaintiffs may move for the entry of default final judgment against Defendants, as described in

  (1) above, no later than 14 days thereafter.

                        *                            *                           *
         Plaintiffs’ failure to file for a motion for default final judgment or notice of joint liability

  within the specified time will result in a dismissal of Defendants without prejudice.




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        DONE AND ORDERED in Miami, Florida, this 20th day of September, 2018.




                                                 _________________________________
                                                 CECILIA M. ALTONAGA
                                                 UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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